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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
UNITED STATES OF AMERICA,
Case Ni -
Plaintiff, CR “17- 294-s. BLW
vs. INDICTMENT
US.C.§2 |
18 U.S.C. § 922(g)(1)
DAVID WILLIAM FISCHER, 18 U.S.C. § 924(c)
18 U.S.C. § 924(d)
Defendant. 18 U.S.C. § 924(e)
21 U.S.C. § 841(a)(1)
21 U.S.C. § 841(b)(1)(B) (viii)
21 U.S.C. § 853
28 U.S.C. § 2461(c)
The Grand Jury charges:

COUNT ONE
Possession with Intent to Distribute Methamphetamine

21 U.S.C. § 841(a)(1), (b)(1)(B) (viii)
18 U.S.C. § 2

- Indictment - 1

 
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On or about September 26, 2017, in the District of Idaho, the defendant, David William
Fischer, did knowingly and intentionally possess with intent to distribute five (5) grams or more
of actual methamphetamine, a Schedule II controlled substance, and aided and abetted the same,
in violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(B)(viii), and Title 18,

United States Code, Section 2.

COUNT TWO

Unlawful Possession of Firearms and Ammunition
18 U.S.C. §§ 922(g)(1), 924(e)

On or about September 26, 2017, in the District of Idaho, the defendant, David William
Fischer, having been previously convicted of a crime punishable by imprisonment for a term
exceeding one year, to-wit: Aggravated Battery, in violation of Idaho Code § 18-907, on August
19, 2014, in the District Court of the Fourth Judicial District of the State of Idaho, in and for
Ada County, did knowingly possess in and affecting commerce firearms and ammunition, to-wit:
a European American Armory (EAA), Model Witness P-S, 9x19 mm caliber pistol with serial
number EA83994; a Taurus PT-140 PRO .40 caliber semi-automatic pistol with serial number
SCY89611; approximately seventeen (17) rounds of 9mm caliber ammunition; and
approximately five (5) rounds of .40 caliber ammunition; said firearms and ammunition having
been shipped and transported in interstate and foreign commerce, in violation of Title 18, United
States Code, Sections 922(g)(1) and 924(e).

COUNT THREE
Possession of Firearms in Furtherance of

a Drug Trafficking Crime
18 U.S.C. § 924(c)

Indictment - 2

 
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On or about September 26, 2017, in the District of Idaho, the defendant, David William
Fischer, knowingly possessed firearms, to wit: a European American Armory (EAA), Model
Witness P-S, 9x19 mm caliber pistol with serial number EA83994; and a Taurus PT-140 PRO .40
caliber semi-automatic pistol with serial number SCY89611; in furtherance of a drug trafficking
crime for which he may be prosecuted in a court of the United States, to wit: possession with
intent to distribute methamphetamine in violation of 21 U.S.C. § 841, as charged in Count One of
this Indictment; all in violation of Title 18, United States Code, Section 924(c).

CRIMINAL FORFEITURE ALLEGATIONS

Drug Forfeiture
21 U.S.C. § 853

As a result of the violations of Title 21, United States Code, Sections 841(a)(1),
(b)(1)(B(viii) as set forth in Count One, the defendant, David William Fischer, shall forfeit to the
United States any and all property, real and personal, tangible and intangible, consisting of or
derived from any proceeds defendant obtained directly or indirectly as a result of the foregoing
drug offenses; and any and all property, real and personal, tangible and intangible, used or
intended to be used, in any manner or part, to commit, or to facilitate the commission of, the
foregoing offenses; these interests include, but are not limited to, the following properties:

Seized Personal Property. Currency in the approximate amount of $3,275.00 seized from
the defendant at the time of his arrest.

Cash Proceeds: At least the sum of $3,275.00 in United States currency and all interest
and proceeds traceable thereto, in that such sum in aggregate is property which constituted
proceeds of the charged offenses, property involved in or facilitating such offenses, or was .
received in exchange for the distribution of controlled substances, and was subsequently

expended, spent, distributed or otherwise disposed of by the defendant.

Indictment - 3

 
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Firearm Forfeiture
18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)

As a result of the violations of Title 18, United States Code, Sections 922(g)(1), set forth
in Counts Two and Three of this Indictment, the defendant, David William Fischer, shall forfeit
to the United States, any firearms or ammunition involved in or used in the commission of the
offense, including but not limited to the following:

Personal Property:

A. a European American Armory (EAA), Model Witness P-S, 9x19 mm caliber pistol

with serial number EA83994;

B. Taurus PT-140 PRO .40 caliber semi-automatic pistol with serial number
SCY89611;

C, approximately seventeen (17) rounds of 9mm caliber ammunition; and

D. —_ approximately five (5) rounds of .40 caliber ammunition.

Substitute Assets as to all forfeiture allegations:

Pursuant to 21 U.S.C. § 853 and other applicable statutes, the government will seek
forfeiture of substitute assets, “or any other property of the defendant” up to the value of the
defendant’s assets subject to forfeiture. The government will do so when the property subject to

forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third person;

c. Has been placed beyond the jurisdiction of the court;

d. Has been substantially diminished in value; or

e. Has been commingled with other property which cannot be subdivided
without difficulty.

Indictment - 4

 
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Dated this | UY day of November, 2017.

A TRUE BILL

/s/ [signature on reverse]

 

FOREPERSON

BART M. DAVIS
UNITED STATES ATTORNEY
By:

So

KATHERINE L. HOLEY
ASSISTANT U.S. ATTORNEY

Indictment - 5

 
